       Case 1:21-cr-00143-UNA Document 8 Filed 04/26/21 Page 1 of 1
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                                                                    JAMES N.HATTEN,Ctort(

                   IN THE UNITED STATES DISTRICT COURT ^^ /^
                  FOR THE NORTHERN DISTRICT OF GEORGIA ^
                          ATLANTA DIVISION


   UNITED STATES OF AMERICA                   Criminal Action No.

         V.                                   1:21-CR-143

   Victor Hill



                                     Order

   Having read and considered the government's Motion to Unseal Indictaient

and application and for good cause shown,

   It is hereby ORDERED that the Indictment and application be unsealed.

   SO ORDERED this 26th day of April _,2021.




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                                     L^JU^.U. '^. Y ^-^A^^
                                     RUSSELL G. VINEYAR^
                                     UNITED STATES MAGISTRATE JUDGE


Presented by: J


Brent A. Gray, Assistant United States Attorney
